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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

MARIA E. ESPARZA,

          Plaintiff,

v.                                                             No. 2:20-CV-537 WJ/KRS

ANDREW SAUL,
Commissioner of the Social Security Administration,

          Defendant.

                                               ORDER

          This matter is before the Court sua sponte. On November 17, 2020, Plaintiff filed a

“CM/ECF Pro Se Notification Form” in which she elected to receive notification of filings via

postal mail. See (Doc. 11). Upon review of the record, the Court has determined that certain

filings have been sent to Plaintiff via e-mail, not postal mail.

          IT IS THEREFORE ORDERED that the Clerk is directed to: (1) send this Order and

Docs. 18, 19, 20, 21, 22, 23, and 24, to Plaintiff at her postal address of record; and (2) make the

necessary adjustments to the docket so that future filings are sent to Plaintiff via postal mail, not

e-mail.




                                               _______________________________________
                                               KEVIN R. SWEAZEA
                                               UNITED STATES MAGISTRATE JUDGE
